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 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
     HELEINE TCHAYOU, ISAAC                     )   Case No. CV16-06073 TJH (MRWx)
12                                              )   Assigned to Hon. Terry J. Hatter; Courtroom 9B
     KEUNANG, LINE MARQUISE                     )
13   FOMING, and ESTATE OF CHARLY               )
     LEUNDEU KEUNANG, by and through            )
14                                              )   STIPULATION FOR AN
     LINE MARQUISE FOMING, as                   )
     Administrator,                             )   ORDER OF DISMISSAL OF
15                                              )   ENTIRE ACTION WITH
                                                )
16                           Plaintiffs,        )   PREJUDICE AS TO ALL
                                                )   CAUSES OF ACTION AGAINST
17   vs.                                        )
                                                )   DEFENDANT CITY OF
18   CITY OF LOS ANGELES, CHAND                 )   LOS ANGELES
                                                )
19   SYED, FRANCISCO MARTINEZ,                  )
     DANIEL TORRES, and JOSHUA                  )
20                                              )
     VOLASGIS,                                 ))
21                     Defendants.             ))
                                               ))
22                                             ))

23   TO THE HONORABLE COURT:
24         Plaintiffs HELEINE TCHAYOU, ISAAC KEUNANG, LINE MARQUISE
25   FOMING, and ESTATE OF CHARLY LEUNDEU KEUNANG, by and through LINE
26   MARQUISE FOMING, as Administrator, by and through their respective undersigned
27   attorneys, and Defendant CITY OF LOS ANGELES, by and through their respective
28   undersigned attorneys, hereby stipulate to and request an order of dismissal of all causes
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 1   of action asserted by Plaintiffs HELEINE TCHAYOU, ISAAC KEUNANG, LINE
 2   MARQUISE FOMING, and ESTATE OF CHARLY LEUNDEU KEUNANG, by and
 3   through LINE MARQUISE FOMING, as Administrator against Defendant CITY
 4   OF LOS ANGELES, Plaintiffs hereby agree to DISMISS THE ENTIRE ACTION
 5   [CV16-06073 TJH] WITH PREJUDICE, including but not limited to all State causes of
 6   action which were subject of the original State Court case, Los Angeles Superior Court
 7   Case No. BC590313, and which the Court here declined to hear with the Federal claims.
 8         The parties waive all rights to appeal in this matter.
 9         All parties are to bear their own costs and attorney’s fees.
10         All pending dates are hereby vacated.
11         The above-captioned action [CV16-06073 TJH], is hereby dismissed in its entirety,
12   with prejudice. The Court shall retain jurisdiction for the purpose of overseeing
13   completion of the settlement process and the enforcement of the Settlement Agreement.
14   Dated: October 29, 2018          HADSELL STORMER & RENICK LLP
15                                    By:      /S/ Joshua Piovia-Scott, Esq.
16                                          DAN STORMER, ESQ.
                                            JOSHUA PIOVIA-SCOTT, ESQ.
17                                          SHALEEN SHANBAG, ESQ.
18                                    Attorney for Plaintiffs HELEINE TCHAYOU, et al.

19   Dated: October 29, 2018          MICHAEL N. FEUER, City Attorney
20
                                      By:     /S/ Christian Bojorquez______________
21                                      CHRISTIAN BOJORQUEZ, Deputy City Attorney
22                                    Attorneys for Defendant CITY OF LOS ANGELES

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